Case 1:19-cv-06498-GHW Document2 Filed 07/11/19 Page 1 of 9

 

 

 

UNITED STATES DISTRIGHACQURT ,,
SNOOP px 3: 09

SOUTHERN DISTRICT OF NEW YORK

Ou Ur BY

Joseph Peter Saladino

 

 

 

 

Write the full name of each plaintiff. CV
(Include case number if one has been
assigned}
-against-
COMPLAINT

Alexandria Ocasio-Cortez

 

Do you want a jury trial?
C1 Yes No

 

 

 

Write the full name of each defendant. If you need more
space, please write “see attached” in the space above and
attach an additional sheet of paper with the full list of
names. The names listed above must be identical to those
contained in Section Il.

 

 

NOTICE

The public can access electronic court files. For privacy and security reasons, papers filed
with the court should therefore not contain: an individual's full social security number or full
birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of
an individual’s birth; a minor’s initials; and the last four digits of a financial account number.
See Federal Rule of Civil Procedure 5.2.

 

 

 

 

 

Rev. 1/9/17
Case 1:19-cv-06498-GHW Document2 Filed 07/11/19 Page 2 of 9

I. BASIS FOR JURISDICTION

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of
cases can be heard in federal court: cases involving a federal question and cases involving
diversity of citizenship of the parties. Under 28 U.S.C. § 1331, a case arising under the United
States Constitution or federal laws or treaties is a federal question case. Under 28 U.S.C. § 1332,
a case in which a citizen of one State sues a citizen of another State or nation, and the amount
in controversy is more than $75,000, is a diversity case. In a diversity case, no defendant may
be a citizen of the same State as any plaintiff.

What is the basis for federal-court jurisdiction in your case?
Federal Question
L1 Diversity of Citizenship

A. If you checked Federal Question

Which of your federal constitutional or federal statutory rights have been violated?
1st Amendment

 

She is blocking me based off my political speech, which constitutes view point discrimination.

 

 

 

B. If you checked Diversity of Citizenship
1. Citizenship of the parties

Of what State is each party a citizen?

The plaintiff , Joseph Peter Saladino , is a citizen of the State of
(Plaintiff's name)

 

New York

(State in which the person resides and intends to remain.)

 

or, if not lawfully admitted for permanent residence in the United States, a citizen or
subject of the foreign state of

 

 

 

 

 

 

If more than one plaintiff is named in the complaint, attach additional pages providing
information for each additional plaintiff.

Page 2
Case 1:19-cv-06498-GHW Document2 Filed 07/11/19 Page 3 of 9

If the defendant is an individual:

The defendant, Alexandria Ocasio-Cortez , is a citizen of the State of

(Defendant’s name)

New York

or, if not lawfully admitted for permanent residence in the United States, a citizen or

 

 

subject of the foreign state of

 

If the defendant is a corporation:

The defendant, , is incorporated under the laws of

 

the State of

 

and has its principal place of business in the State of

 

or is incorporated under the laws of (foreign state)

 

and has its principal place of business in

 

if more than one defendant is named in the complaint, attach additional pages providing
information for each additional defendant.

Il. PARTIES

A. Plaintiff Information

Provide the following information for each plaintiff named in the complaint. Attach additional
pages if needed.

Joseph P Saladino

 

 

 

 

   

 

 

 

 

 

 

First Name Middle Initial Last Name
48 Carol Court
Street Address
Staten Island | NY 10309
jwitn2@gmail.com
Telephone Number Email Address (if available)

Page 3
Case 1:19-cv-06498-GHW Document2 Filed 07/11/19 Page 4 of 9

B. Defendant Information

To the best of your ability, provide addresses where each defendant may be served. If the
correct information is not provided, it could delay or prevent service of the complaint on the
defendant. Make sure that the defendants listed below are the same as those listed in the
caption. Attach additional pages if needed.

Defendant 1: Alexandria Ocasio-Cortez
First Name Last Name
U.S. Representative of NY-14
Current Job Title (or other identifying information)
74-09 37th Avenue Suite 305

Current Work Address (or other address where defendant may be served)

 

 

 

 

 

 

Jackson Heights NY 11372

County, City State Zip Code
Defendant 2:

First Name Last Name

Current Job Title (or other identifying information)

Current Work Address (or other address where defendant may be served)

County, City State Zip Code
Defendant 3:

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

 

 

Page 4
Case 1:19-cv-06498-GHW Document2 Filed 07/11/19 Page 5 of 9

Defendant 4:

 

First Name Last Name

 

Current Job Title (or other identifying information)

 

Current Work Address (or other address where defendant may be served)

 

County, City State Zip Code

Ill. STATEMENT OF CLAIM
Place(s) of occurrence: Online

May 9th, 2019 - Still Occuring

Date(s) of occurrence:

 

FACTS:

State here briefly the FACTS that support your case. Describe what happened, how you were
harmed, and what each defendant personally did or failed to do that harmed you. Attach
additional pages if needed.

Alexandria Ocasio-Cortez blocked me from viewing and engaging with her official twitter

 

profile after | responded to one of her political posts.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page 5
Case 1:19-cv-06498-GHW Document2 Filed 07/11/19 Page 6 of 9

 

 

 

 

 

 

 

 

 

 

INJURIES:

If you were injured as a result of these actions, describe your injuries and what medical
treatment, if any, you required and received.

Violation of 1st amendment right to free speech

 

 

 

 

 

IV. RELIEF

State briefly what money damages or other relief you want the court to order.

injunctive relief from the court to be unblocked by her official twitter account.

 

 

 

 

 

 

 

 

 

Page 6
Case 1:19-cv-06498-GHW Document2 Filed 07/11/19 Page 7 of 9

V. PLAINTIFF’S CERTIFICATION AND WARNINGS

By signing below, I certify to the best of my knowledge, information, and belief that: (1) the
complaint is not being presented for an improper purpose (such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation); (2) the claims are supported
by existing law or by anonfrivolous argument to change existing law; (3) the factual
contentions have evidentiary support or, if specifically so identified, will likely have
evidentiary support after a reasonable opportunity for further investigation or discovery;
and (4) the complaint otherwise complies with the requirements of Federal Rule of Civil
Procedure 11.

I agree to notify the Clerk's Office in writing of any changes to my mailing address. I
understand that my failure to keep a current address on file with the Clerk's Office may
result in the dismissal of my case.

Each Plaintiff must sign and date the complaint. Attach additional pages if necessary. If seeking to
proceed without prepayment of fees, each plaintiff must also submit an IFP application.

7/9/19 ath 4

 

 

 

 

 

 

 

Dated (Drintitf's Signature
Joseph P Saladino
First Name Middle Initial Last Name
48 carol court
Street Address
staten island ny 10309
County, City State Zip Code
9177519036 jwitn2@gmail.com
Telephone Number Email Address (if available)

[have read the Pro Se (Nonprisoner) Consent to Receive Documents Electronically:
Yes [LINo

If you do consent to receive documents electronically, submit the completed form with your
complaint. If you do not consent, please do not attach the form.

 

 

 

 

 

Page 7
Page 1 of 1

Case 1:19-cv-06498-GHW Document2 Filed 07/11/19 Page 8 of 9

 

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Alexandria Ocasio-Cortez You are bloc

 

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